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AO 441 (Rev. 07/10) Summons on Third-Party Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of Nevada

                 PAUL PONOMARENKO
                            Plaintiff
                               V.                                        Civil Action No. 2:18-cv-00216-RFB-CWH
                NATHAN SHAPIRO, et al.,
                 Defendant, Third-party plaintiff
                               V.
            LUKE GERHARD KROGH, et al.
                      Third-party defendant


                                        SUMMONS ON A THIRD-PARTY COMPLAINT

To:(Third-party defendant's name and address) LUKE GERHARD KROGH
                                                    N6497 906th St.
                                                    Elk Mound WI 54739




        A lawsuit has been filed against defendant NATHAN SHAPIRO                ,who as third-party plaintiff is making
this claim against you to pay part or all of what the defendant may owe to the plaintiff PAUL PONOMARENKO

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff and on the defendant an answer to the attached complaint or a
motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the defendant or
defendant's attorney, whose name and address are:
 THOMAS S. SHADDIX, ESQ., 6166 S. Sandill Rd., Ste 146, Las Vegas, NV 89120



         It must also be served on the plaintiff or plaintiff's attorney, whose name and address are:
 MICHAEL INDRAJANA, ESQ., 1650 S. Amphlett Blvd. Suite 220, San Mateo, CA 94402



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the third-party
complaint. You also must file the answer or motion with the court and serve it on any other parties.

         A copy of the plaintiffs complaint is also attached. You may - but are not required to respond to it.

Date:         05/08/2018
                                                                           CLERK OF COURT


                                                                                     Signature of Clerk or Deputy Clerk
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Civil Action No. 2:18-cv-00216-RFB-CWH

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (Q)

          This summons for (name of individual and title, jfanv)
was received by me on (date)

               I personally served the summons on the individual at (place)
                                                                                on (date)                          or

               I left the summons at the individual's residence or usual place of abode with (name)
                                                      - - - - , a person of suitable age and discretion who resides there,
          ---                                     -
          on (date)                               , and mailed a copy to the individual's last known address; or

          11 I served the summons on (name of individual)                                                                      who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                On (date)                          or

          I]   I returned the summons unexecuted because                                                                            or

               Other (specify):



           My fees are $                          for travel and $                 for services, for a total of$        0.00

           I declare under penalty of perjury that this information is true.



 Date:
                                                                                            Server's signature



                                                                                       Printed name and title




                                                                                            Server's address


 Additional information regarding attempted service, etc:
